           Case 1:20-cv-05894-AKH Document 21 Filed 11/09/20 Page 1 of 1




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 CABLE FIRST CONSTRUCTION INC., et al.,                          :
                                                                 :
                                                                 :   ORDER REGULATING
                                                                 :   PROCEEDINGS
                                          Plaintiffs,
                                                                 :
              -against-                                          :   20 Civ. 5894 (AKH)
                                                                 :
                                                                 :
                                                                 :
 LEPUTIUK ENGINEERING CORP., et al.                              :
                                          Defendants.            :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 The parties are hereby ordered to appear for a telephonic oral argument on

January 29, 2021, at 11:30 a.m., which will be held via the following call-in number:

                 Call-in number: 888-363-4749

                 Access code: 7518680

                 To ensure that the call proceeds smoothly and to avoid disruption, the Court

directs those calling in (other than counsel) to mute their telephones. Additionally, all

participants are directed to call in 5 minutes prior to the start of the conference.

                 Finally, no later than January 27, 2021, at 12:00 p.m., the parties shall jointly

submit to the court (via the email address HellersteinNYSDChambers@nysd.uscourts.gov) a list

of all counsel expected to appear on the record, along with their contact information.



                 SO ORDERED.

Dated:           November 9, 2020                    ________/s/ Alvin K. Hellerstein____________
                 New York, New York                       ALVIN K. HELLERSTEIN
                                                           United States District Judge
